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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


  WHITNEY WASHINGTON and                           )
  KEVIN WOMACK, on behalf of                       )
  themselves and all other prisoners under the     )
  jurisdiction of the TDOC,                        )       No. 2:20-cv-02334-JTF-dkv
                                                   )
         Plaintiffs,                               )
                                                   )
                                                   )
  v.                                               )
                                                   )
  STANLEY DICKERSON, ET AL.,                       )
                                                   )
         Defendants.                               )
                                                   )


                        ORDER DISIMISSING CASE,
        CERTIFYING AN APPEAL WOULD NOT BE TAKEN IN GOOD FAITH,
           AND NOTIFYING PLAINTIFFS OF APPELLATE FILING FEE


       On May 5, 2020, plaintiff Whitney Washington (booking number 580208) and plaintiff

Kevin Womack (booking number 463617), who were both incarcerated at that time, submitted a

pro se complaint pursuant to 42 U.S.C. § 1983 “on behalf of themselves and all other prisoners

under the jurisdiction of the Tennessee Department of Correction.” (ECF No. 1 at PageID 1.)

       On July 21, 2020 (ECF No. 4) and again on October 8, 2020 (ECF No. 7), the Court

directed Plaintiffs to sign their complaint and comply with 28 U.S.C. §§ 1915(a)(1)-(2) or pay the

civil filing fee. Plaintiffs were warned on both occasions that if they failed to timely comply, the

Court would summarily dismiss this case with prejudice in its entirety. (ECF No. 4 at PageID 21;

ECF No. 7 at PageID 32.)
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       Plaintiffs’ deadline to comply expired on October 22, 2020. Plaintiffs have not submitted

a signed complaint, or complied with 28 U.S.C. §§ 1915(a)(1)-(2) or paid the $400 civil filing fee.

The time within which to do so has expired.

       For this reason, the Court DISMISSES this case with prejudice in its entirety for the

reasons discussed in the Court’s July 21, 2020 and October 8, 2020 orders. (ECF Nos. 4 & 7.)

Judgment will be entered in accordance with those prior orders.

       Pursuant to Federal Rule of Appellate Procedure 24(a) and 28 U.S.C. § 1915(a)(3), it is

CERTIFIED that any appeal in this matter by Plaintiffs would not be taken in good faith. If

Plaintiffs nevertheless chooses to file a notice of appeal, they must either pay the entire $505

appellate filing fee or submit a new in forma pauperis affidavit and a current, certified copy of

their inmate trust account statements for the last six months, in compliance with 28 U.S.C. §§

1915(a)-(b).

       IT IS SO ORDERED, this 9th day of November 2020.



                                               s/John T. Fowlkes, Jr.
                                              JOHN T. FOWLKES, JR.
                                              UNITED STATES DISTRICT JUDGE




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